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 8                    United States District Court
 9                    Central District of California
10                         Western Division
11

12     KEITH THORNTON,                                 CV 16-08482 TJH (AGRx)
13                        Plaintiff,
14           v.
                                                                 Order
15     LOS ANGELES COUNTY, et al.,                                 [36]
16                        Defendants.
17

18          The Court has considered Defendants’ motion for judgment on the pleadings,
19    together with the moving and opposing papers.
20          Plaintiff Keith Thornton, a former Los Angeles police officer, filed this lawsuit
21    against the Defendants County of Los Angeles [“County”]; Daisy Cruz, a Los Angeles
22    County Department of Children and Family Services [“DCFS”] social worker; and
23    Carol Porras, Cruz’s supervisor for violating his constitutional rights when his foster
24    children were removed from his care.         Thornton alleged claims for: (1) First
25    Amendment retaliation against Cruz and Porras; (2) Violations of substantive and
26    procedural due process rights against Cruz and Porras; (3) Violations of equal
27    protection against Cruz and Porras; (4) Monell liability against the County. The
28    following facts were alleged in the Complaint.

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 1          By early 2014, Thornton, an African American male, and his partner, Sergio
 2    Linares, a Hispanic male, were certified as foster parents through the Southern
 3    California Foster Family & Adoption Agency. On April 17, 2014, Thornton and
 4    Linares met with DCFS employees. Thornton and Linares agreed to be the foster
 5    parents for three sibling boys aged 3 years, 2 years, and 2 months. The children had
 6    special needs due to their fetal exposure to alcohol and drugs, and allegations of neglect
 7    and abuse. Cruz was the DCFS social worker initially assigned to supervise the foster
 8    placement. Later on, she was assigned to monitor Thornton’s adoption of the children.
 9          Throughout the foster placement, Cruz disagreed with many of Thornton’s
10    decisions, including, inter alia: (1) Not taking the children to visit their former foster
11    parent, who was a friend of Cruz; (2) Following the advice of certain pediatricians to
12    not use a corrective helmet for the 2 month old child; (3) Separating from Linares in
13    the fall of 2014, despite participating in DCFS-mandated couples counseling; (4)
14    Attempting to enroll the older children in a special needs educational program; (5) Not
15    continuing the children’s Spanish education; (6) Taking the children to a United
16    Methodist Church, rather than a Catholic Church; (7) Moving from Sunland to a larger
17    house in Palmdale, which required Cruz to travel further for home visits; (8) Giving
18    an interview to a reporter at a DCFS-hosted foster care adoption event, and identifying
19    himself as a single gay man in the process of adopting foster children; and (9)
20    Following the advice of the 2 year old’s therapist and not enrolling him into an
21    emotional wellness program suggested by Cruz.
22          After Thornton’s separation from Linares, Cruz increased the frequency of her
23    home visits, and would begin each visit asking the children about the “bad things that
24    happened this week”. Eventually, Cruz confronted Thornton, asserting that the
25    children’s therapists had informed her that he was no longer in contact with Thornton
26    or the children. Thornton refuted that assertion, and countered that the therapists had
27    great difficulties reaching Cruz because she did not return their calls. Thereafter,
28    Thornton requested a meeting with all of the social workers assigned to his adoption

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 1    case because he thought that DCFS might not be moving forward with the adoption.
 2    Cruz, then, informed Thornton that she had told Marissa Martinez, the social worker
 3    handling the adoption, to postpone the adoption because of Thornton’s failure to follow
 4    her instructions.
 5          On January 14, 2016, Mr. Thornton met with Cruz, Porras, Martinez, and other
 6    social workers at his house. Cruz repeated her prior accusations. Thornton produced
 7    a letter from a supervisor at the Children’s Bureau, confirming that Thornton was in
 8    constant contact with the children’s therapists, and that Cruz stopped communicating
 9    with them. The other social workers expressed their agreement with Thornton, and
10    said they would be in touch to finalize the adoption.
11          At the end of the meeting, Cruz announced that she wanted to check on the
12    children before leaving. During her check, apparently, Cruz saw a circular scratch on
13    the oldest child’s leg. Further, Cruz asserted that the middle child told her about
14    possible abuse. Consequently, Cruz removed the children from Thornton’s home.
15          Cruz denied Thornton’s request to have supervised visits with the children, as
16    usually permitted for a prospective adoptive parent. On February 16, 2016, a Sheriff’s
17    detective investigated the alleged abuse and concluded, in a report, that the allegations
18    of abuse were not supported by evidence, that the children wanted to be returned to
19    Thornton, and that the children appeared to have been coached as to their abuse
20    allegations.
21          On February 29, 2016, before a Dependency Court removal hearing, DCFS’s
22    attorney commented that Thornton would never be allowed to adopt if he contested the
23    removal. On March 15 2016, at a continuance of the removal hearing, Cruz repeatedly
24    made false statements, inter alia, that: (1) She had been told by one of the children’s
25    therapist that the child reported to the therapist that Thornton engaged in sexual acts in
26    front of the children; (2) None of the children had special needs; (3) Thornton did not
27    keep in contact with the children’s healthcare providers; and (4) She observed signs of
28    physical abuse on the body of the middle child at the time of removal, even though the

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 1    Notice of Emergency Removal referred only to alleged injuries on the oldest child.
 2          The Dependency Court did not rule on the abuse allegations, but it did conclude
 3    that it was in the best interests of the children for them to not be returned to Thornton
 4    because DCFS represented that the new foster parents intended to adopt them. After
 5    the hearing, the LAPD investigated the allegations of Thornton’s child abuse. The
 6    LAPD, like the Sheriffs, concluded that the allegations were not based on factual
 7    evidence.
 8          Thereafter, Thornton was recertified as a prospective adoptive parent. However,
 9    DCFS placed an “indefinite hold” on Thornton, which prevents him from fostering or
10    adopting children.
11          The County, now, moves for judgment on the pleadings.
12          Judgment on the pleadings, under Federal Rule of Civil Procedure 12(c), is
13    proper if the moving party is entitled to judgment as a matter of law. Nelson v. City
14    of Irvine, 143 F.3d 1196, 1200 (9th Cir. 1998). When considering this motion, the
15    Court must deem all of the allegations in Thornton’s complaint as true, and must
16    construe his allegations in the light most favorable to him. See Gen. Conference Corp.
17    Of Seventh-Day Adventists v. Seventh-Day Adventists Congregational Church, 887 F.2d
18    228, 230 (9th Cir. 1989). Moreover, the Court must draw all reasonable inferences
19    from Thornton’s allegations. See Fleming v. Pickard, 581 F.3d 922, 925 (9th Cir.
20    2009).
21          Any person who, under the color of law, deprives another of their rights under
22    the Constitution or other federal laws, shall be liable to the injured party. 42 U.S.C.
23    § 1983. However, government officials performing discretionary functions are entitled
24    to qualified immunity if their conduct did not violate clearly established statutory or
25    constitutional rights. Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). For a right to
26    be clearly established, “existing precedent must have placed the statutory or
27    constitutional question beyond debate.” Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011).
28    A right is not clearly established unless the contours were sufficiently definite that any

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 1    reasonable official in the defendant’s shoes would have understood that she was
 2    violating it. Kisela v. Hughes, 138 S. Ct. 1148, 1153 (2018).
 3    First Amendment Retaliation
 4          It is clearly established that a police officer violates the First Amendment when
 5    the officer’s actions are motivated out of retaliation for a citizen’s speech. Ford v. City
 6    of Yakima, 706 F.3d 1188, 1196 (9th Cir. 2013). However, there is no clearly
 7    established precedent as to First Amendment retaliation in connection with a social
 8    worker’s motivation to remove children from a foster home. See Mann v. Cty. Of San
 9    Diego, 147 F. Supp. 3d 1066, 1087-88 (S.D. Cal. 2015). Unless the existing precedent
10    “squarely governs the specific facts at issue,” there is no clearly established law.
11    Kisela, 138 S. Ct. at 1153. Therefore, Cruz and Porras are entitled to qualified
12    immunity from Thornton’s First Amendment retaliation claim.
13    Substantive Due Process
14          Biological parents enjoy a constitutionally-protected liberty interest in their
15    familial relationships with their children. Smith v. Org. of Foster Families for Equality
16    & Reform, 431 U.S. 816, 844-45 (1977). However, unlike biological parents, foster
17    parents’ rights flow from the laws of the state that permitted them to be foster parents.
18    Smith, 431 U.S. at 845-46. Here, California’s foster parent laws do not “create a
19    protected liberty interest in the continued custody of a foster child.” Huk v. Cty. of
20    Santa Barbara, 650 F. App’x. 365, 367 (9th Cir. 2016). This is true even if a foster
21    parent lost custody through allegedly deceptive means. Huk, 650 F. App’x. at 367.
22    Thus, Thornton, as a foster parent, cannot assert claims for violation of substantive due
23    process.
24          In 1995, the Ninth Circuit held that there was no clearly established law that a
25    prospective adoptive parent has a fundamental liberty interest entitled to the protection
26    of the Due Process Clause. Mullins v. State of Or., 57 F.3d 789, 794 (9th Cir. l995).
27    In 2016, the Ninth Circuit adopted the holding of a Tenth Circuit case, Elwell v. Byers,
28    699 F.3d 1208, 1217 (10th Cir. 2012), where the Tenth Circuit concluded that foster

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 1    parents, who had cared for their child for nearly his entire life with no biological
 2    parents in the picture and who were on the verge of adopting the foster child, had a
 3    protectable liberty interest. Huk, 650 F. App’x at 367. However, Huk cannot be used
 4    to show that the law was clearly established because the facts of the instant case
 5    preceded Huk. Therefore, because the law was not clearly established at the time of
 6    the alleged violation, Cruz and Porras are entitled to qualified immunity as to the
 7    substantive due process claim based on Thornton’s allegations that he was on the verge
 8    of adoption.
 9    Procedural Due Process
10           It is clearly established that purposefully falsifying evidence or testimony in a
11    child abuse investigation violates procedural due process rights only when the
12    falsification results in the deprivation of a liberty or property interest. Constanich v.
13    Dep’t of Soc. Serv., 627 F.3d 1101, 1115 (9th Cir. 2010). However, as discussed
14    above, Thornton had no constitutionally-protected liberty interest in being a foster
15    parent. See Huk, 650 F. App’x at 367. Further, there was no clearly established
16    liberty interest for prospective adoptive parents at the time that the alleged falsification
17    occurred in the instant case. Huk, 650 F. App’x at 367. Therefore, Cruz and Porras
18    are entitled to qualified immunity from Thornton’s procedural due process claim.
19    Equal Protection
20           The County relied on United States v. Whitlock, 639 F.3d 935 (9th Cir. 2011),
21    to argue that, because due process and equal protection rights are similar, Thornton’s
22    equal protection claim should be dismissed because it was, merely, a recasting of his
23    due process claim. In Whitlock, the Ninth Circuit held that “in challenges to sentencing
24    regimes, an argument based on equal protection essentially duplicates an argument
25    based on due process.” Whitlock, 639 F.3d at 940. Therefore, when Whitlock’s Due
26    process argument failed, so did his equal protection argument. Whitlock, 639 F.3d at
27    940.
28           However, due process and equal protection rights merge only under specific

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 1    situations. Generally, due process and equal protection are independent principles that
 2    “are not always co-extensive.” Obergefell v. Hodges, ___ U.S. ___, 135 S. Ct. 2584,
 3    2590 (2015). Whitlock does not support the merger of Thornton’s due process and
 4    equal protection claims as that case considered those claims only in the limited context
 5    of challenges to criminal sentencing and the revocation of supervised release.
 6    Monell
 7           Because Thornton’s equal protection claim remains, he may assert a Monell
 8    claim against the County because he alleged that the unconstitutional actions of Cruz
 9    and Porras that violated his equal protection rights were done in accordance with a
10    custom, policy or practice of the County. See Monell v. Dept. Of Soc. Services of the
11    City of N.Y., 436 U.S. 658, 694 (1978). Thornton alleged that there was a County
12    policy for social workers to, inter alia, evaluate the competency of a prospective
13    adoptive parent based on the parent’s religious affiliation, racial/ethnic background, or
14    sexual orientation. Considering Thornton’s allegations in the light most favorable to
15    him, the Court cannot say that the County is entitled to judgment as a matter of law on
16    the Monell claim. See Gen. Conference Corp. of Seventh-Day Adventists, 887 F.2d at
17    230.
18           Accordingly,
19           It is Ordered that the motion for judgment on the pleadings be, and hereby is,
20    Granted as to Thornton’s First Amendment retaliation, procedural due process, and
21    substantive due process claims.
22           It is further Ordered that the motion for judgment on the pleadings be, and
23    hereby is, Denied as to Thornton’s equal protection and Monell claims.
24

25    Date: August 14, 2018
26                                               __________________________________
27                                                      Terry J. Hatter, Jr.
28
                                                 Senior United States District Judge


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